          Case: 7:14-cv-00178-ART-EBA Doc #: 1-1 Filed: 12/22/14 Page: 1 of 13 - Page ID#: 6




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 13223233
Notice of Service of Process                                                                            Date Processed: 12/02/2014

Primary Contact:           Sheila L Smith
                           The Sherwin-Williams Company
                           101 Prospect Avenue, N.W.
                           Cleveland, OH 44115-1075

Entity:                                       The Sherwin-Williams Company
                                              Entity ID Number 2470034
Entity Served:                                The Sherwin Williams Company
Title of Action:                              Gordon Michael Wagner vs. The Sherwin-Williams Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Pike County Circuit Court, Kentucky
Case/Reference No:                            14-CI-1231
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           12/02/2014
Answer or Appearance Due:                     20 Days
Originally Served On:                         KY Sec. of State on 11/25/2014
How Served:                                   Certified Mail
Sender Information:                           Brandis Bradley
                                              606-433-0433

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com
Case: 7:14-cv-00178-ART-EBA Doc #: 1-1 Filed: 12/22/14 Page: 2 of 13 - Page ID#: 7


                                                                                  Summons Division
                                                                                       PO BOX 718
Alison Lundergan Grimes
                                        Commonwealth of Kentucky          FRANKFORT, KY 40602-0718
Secretary of State                     Office of the Secretary of State

                                              November 25, 2014


THE SHERWIN WILLIAMS COMPANY
CSC-LAWYERS INCOPRORATING
SERVICE COMPANY
421 WEST MAIN STREET
FRANKFORT, KY 40601



FROM: SUMMONS DIVISION
       SECRETARY OF STATE

RE:            CASE NO: 14-CI-1231

COURT: Circuit Court Clerk
    Pike County
    PO Box 1002
    Pikeville, KY 41502-1002
    Phone: (606) 433-7557

Legal action has been filed against you in the captioned case. As provided under
Kentucky law, the legal documents are enclosed.

Questions regarding this action should be addressed to:

       (1) Your attorney, or
       (2) The attorney filing this suit whose name should appear on
            the last page of the complaint, or
       (3) The court or administrative agency in which the suit is filed
           at the clerk's number printed above.

The Kentucky Secretary of State has NO POWER to make a legal disposition of this
case. Your responsive pleadings should be filed with the clerk of the court or agency
where the suit is filed and served directly on your opposing party.

No copy of future pleadings need be sent to this office unless you wish us to serve
the pleading under a particular statute or rule and pay for said service.




Kentucky Secretary of State's Office            Summons Division                         11/25/2014
  Case: 7:14-cv-00178-ART-EBA Doc #: 1-1 Filed: 12/22/14 Page: 3 of 13 - Page ID#: 8

 AOC-105               Doc. Code: CI                         ~s,_:~ ,                      Case No.
 Rev. 1-07                                                       = f=:..
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 Page 1 of 1                                                          :                    Court      n Circuit n District
 Commonwealth of Kentucky
 Court of Justice www.courts.ky.gov                                                        County     Pike
 CR 4.02; CR Official Form 1                            CIVIL SUMMONS


                                                                                                               PLAINTIFF

      Gordon Michael Wagner                ~


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vs.
                                       ®1~~y7           ~• Y, s ' .
                                                                                                              DEFENDANT
      The Sherwin Williams Company

                                                                                    N? p;4TTfi~~~
                                                                                          S


                                                                                    '     ~~




Service of Process Agent for Defendant:                                         `
The Sherwin Williams Company
CSC-Lawyers Incorporating Service Company
421 West Main Street                                                                           (-
Frankfort, KY 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

         You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Complaint.

        The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Summons.

Date:         1( -1 p1—           ,2   O` q
                                          ,                                                                           Clerk
                                                            By:                                                        D.C.




                                                    Proof of Service
      This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:


      this       day of                     2
                                                                  Served by:
                                                                                                                   Title
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                             COMMONWEALTH OF KENTUCKY
                                 PIKE CIRCUIT CQURT
                                    DIVISION

CIVIL ACTION NO.


GORDON MICHAEL WAGNER                                                                       FF \
                                                                                                   ~

VS.                                   COMPLAINT


THE SHERWIN-WILLIAMS COMPANY                                                   nWT7T'i Am e AT'T


   Serue:    CSC-Lawyers Incorporating Seruice Compai
             421 West Main Street
             Frankfort, Kentucky 4o6ol



       Comes the Plaintiff, Gordon Michael Wagner, by and thrc ~

his claims and causes of action against The Sherwin-Williams Company, states as

follows:

                                     INTRODUCTION

               This is an action under Title I of the Americans with Disabilities Act, as

 amended, ("ADA"), 42 U.S.C. § 121oi et seq., the ADA Amendments Act of 20o8

 ("ADAAA"), 42 U.S.C. § 12ioi, et seq., and Title I of the Civil Rights Act of 1991, as well

 as the Kentucky Civil Rights Act ("KCRA") under KRS Chapter 344•

        2.     Plaintiff Gordon Michael Wagner is a resident of Floyd County, Kentucky,

 with a mailing address at 48 Antique Lane, Betsy Layne, Kentucky 41605.

        3.      At all relevant times, Defendant The Sherwin-Williams Company has

 been a corporation duly organized and existing under the laws of the State of Ohio, and

 has continuously been and is now doing business in the Commonwealth of Kentucky
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 and the City of Pikeville, and has continuously had more than 50o employees.

 Defendant may be served with process by and through its registered agent, CSC-Lawyers

 Incorporating Service Company, 421 West Main Street, Frankfort, Kentucky 4o6oi.

       4.     At all relevant times, Defendant has continuously been a covered entity

 and an employer within the meaning of the ADA, 42 U.S.C. § 12111 (2) and (5), and the

 KCRA, KRS 344•030(2).

       5.      Plaintiff has a vision impairment that substantially limits him in one or

 more major life activities. Plaintiff s vision impairment is a disability under the ADA

 and ADAAA.

       6.     On October 8, 2014, Plaintiff was discharged from his employment, in

 violation of 42 U.S.C. § 12112(a) and KRS Chapter 344, based on the driving restriction

 resulting from Plaintiff s vision impairment.

        7.    At the time of his discharge, Plaintiff was the Store Manager at

 Defendant's retail paint store in Pikeville, Kentucky ("Pikeville Store"), and had been

 employed with Defendant at its Pikeville Store continuously for approximately 20 years.

        8.     For his most recent Annual Performance Appraisal, Plaintiff had received

 an overall satisfactory performance rating. Over his 20-year career with Defendant,

 Plaintiff consistently received satisfactory or better performance evaluations.

        g.     On or about Apri124, 2014, Plaintiff filed a Charge of Discrimination with

 the Equal Employment Opportunity Commission ("EEOC") against Defendant for

 employment discrimination on the basis of disability, in violation of the ADA, 42 U.S.C.

 § 12112(a) and KCRA, KRS 344•040•

        10.    On or about August 28, 2014, Plaintiff and Defendant participated in a

 Fact Finding Conference with the EEOC.

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        ii.     On or about October 9, 2014, prior to the EEOC having completed its

 investigation, Plaintiff requested that the EEOC issue a Notice of Right to Sue.

        12.     On or about October 14, 2014, the EEOC issued a Notice of Right to Sue,

 allowing Plaintiff to file this lawsuit in a federal or state court within 90 days of his

 receipt thereof. See Attached. All conditions precedent to the institution of this lawsuit

 have been fulfilled.

                                           COUNTI

        13.     Plaintiff adopts and reiterates each and every averment set forth in the

 Introduction as if set out fully herein and incorporates same by reference.

        14.     On October 7, 2013, Plaintiff informed Defendant that he had been

 diagnosed with a left visual field defect affecting his peripheral vision, which restricted

 him from driving, and submitted a request for a reasonable accommodation to his

 District Manager, Marco Cline. Specifically, Plaintiff submitted a note from one of his

 treating physicians and requested that he permanently be excused from driving.

         15.    Less than twenty-four hours later, on October 8, 2013, Plaintiff reported to

 work as usual to open the Pikeville Store. Shortly thereafter, Plaintiff received phone

 calls from his District Manager and a human resources official, both of whom informed

 him that he could no longer perform his job duties due to the vision impairment that

 restricted him from driving. Plaintiff was then ordered to collect his things and leave

 the store immediately.

         16.     Plaintiff s Store Manager position was posted for competitive hire

 immediately after he was discharged. Within a couple of weeks, Defendant hired Allen

  Harvel to fill Plaintiff s position.



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        17.    Defendant did not engage in the interactive process with Plaintiff to

determine whether there were reasonable accommodations that would allow Plaintiff to

perform the essential functions of his Store Manager position.

        18.    Defendant failed to conduct an individualized inquiry in determining

whether Plaintiffs disability disqualified him from the Store Manager position.

        i9.    Defendant failed to identify the precise limitations resulting from

 Plaintiff s disability and the effect that disability had on Plaintiff s ability to perform the

 Store Managerjob.

        2o.    Defendant did not make a good faith attempt to identify any potential

 reasonable accommodations that could overcome Plaintiff s driving restriction.

                                           COUNT II

        21.      Plaintiff adopts and reiterates each and every averment set forth in the

 Introduction and Count I as if set out fully herein and incorporates same by reference.

        22.    At all times relevant to this lawsuit, Plaintiff was qualified to perform the

 essential functions of his Store Manager position with Defendant's Pikeville Store, with

 or without reasonable accommodation of his disability.

        23.    At all relevant times, Plaintiffs only work-restriction was driving. Driving

 is not an essential function of the Store Manager position at Defendant's Pikeville Store.

        24.     Driving is a marginal function of the Store Manager position at

 Defendant's Pikeville Store.

        25.     While under a temporary driving restriction between Apri12oi3 and the

 date of his discharge on October 8, 2013, Plaintiff successfully performed his duties as

 Store Manager, including outside sales calls. Plaintiff was discharged only after his

 vision impairment was deemed permanent by his treating physician.

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        26.    Plaintiff was capable of performing outside sales calls over the phone

 and/or through other technological means. Further, aside from Plaintiffs restriction

 from driving himself to the actual on-site locations, he was otherwise qualified to

 perform the functions involved in closing an outside sale without any accommodation.

       27.    The focus of the essential function requirement is on the desired result

 rather than the means of accomplishing it. In Plaintiff s position as Store Manager,

 driving was merely a means of accomplishing outside sales calls and nightly bank

 deposits.

        28.    Defendant operates a chain of more than 4,000 retail stores and is the

 largest producer of paints and coatings in the United States. Defendant employs more

 than 32,000 associates and reported $9•53 billion in sales in 2013.

        29.    Defendant routinely employs delivery drivers and traveling sales

 representatives in its retail paint store operations. Defendant provides company

 vehicles to these individuals who work in positions for which driving is an essential

 function. Defendant has never provided the Pikeville Store Manager with a company

 vehicle.

        3o.    Defendant would not encounter significant difficulty or expense in

 providing an accommodation for Plaintiffs driving restriction.

        31.    A reasonable accommodation for Plaintiffs driving restriction would not

 have been unduly extensive, substantial, or disruptive, and would not have

 fundamentally altered the nature or operation of Defendant's business.

        32.    Plaintiff was denied a reasonable accommodation by Defendant in

 violation of 42 U.S.C. 12112(b)(5) and KRS Chapter 344•



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                                        COUNT III

       33• Plaintiff adopts and reiterates each and every averment set forth in the

 Introduction, Count I, and Count II as if set out fully herein and incorporates same by

 reference.

       34•     Plaintiff engaged in protected activity when he requested that Defendant

 accommodate his driving restriction.

        35•    Plaintiff s exercise of his rights under the ADA and KCRA was known by

 Defendant.

        36.    Defendant took adverse employment action against Plaintiff less than 24

 hours after Plaintiff engaged in protected activity by requesting a reasonable

 accommodation.

        37.    A causal connection exists between Plaintiff s protected activity and the

 adverse employment action taken by Defendant, which constitutes retaliation in

 violation of the ADA and KCRA.

                                        COUNT IV

        38. Plaintiff adopts and reiterates each and every averment set forth in the

 Introduction, Count I, Count II, and Count III as if set out fully herein and incorporates

 same by reference.

        39•    Based on the foregoing, Plaintiff has been deprived of equal employment

 opportunities and otherwise adversely affected in his employment status on the basis of

 disability.

        40.    Defendant's discriminatory conduct as described above has caused

 Plaintiff to suffer economic injury, including, but not limited to, salary, including any



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 pay raises, sick leave, vacation pay, and other fringe benefits that Plaintiff would have

 received but for the discriminatory discharge and retaliation described above.

        41.    Reinstatement to Plaintiff s Store Manager position is inappropriate

 and/or infeasible under the circumstances described above.

        42.    At the time of his discharge, Plaintiff was on track to continue in his

 position as Store Manager of the Pikeville Store until retirement.

        43.    Following his discharge, Plaintiff has exercised reasonable diligence in

 seeking other suitable employment. To date, no other suitable employment has become

 available.

        44•    Defendant's discriminatory conduct as described above has caused

 Plaintiff to suffer future pecuniary losses, emotional pain, suffering, inconvenience,

 humiliation, embarrassment, mental anguish, loss of enjoyment of life, and other

 nonpecuniary losses.

        45•    The unlawful employment practices complained of above were intentional.

        46.     Defendant engaged in the discriminatory conduct described above with

 the knowledge that it was in violation of state and federal anti-discrimination laws.

        47.     Defendant committed the unlawful employment practices described above

  with malice and/or reckless indifference to Plaintiff s rights under both state and federal

 law.

        WHEREFORE, the Plaintiff Gordon Michael Wagner demands judgment

  against the Defendant, The Sherwin-Williams Company, as follows:

        1.      That the Clerk of the Pike Circuit Court issue summons for the Defendant,

  The Sherwin-Williams Company, and direct a copy thereof, along with this Complaint,

  to the Kentucky Secretary of State as its statutory agent for service of process;

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        2.     Judgment against the Defendant, The Sherwin-Williams Company, in

 favor of the Plaintiff, Gordon Michael Wagner;

        3.     That the Defendant, The Sherwin-Williams Company, be ordered to

 completely redress the economic injury to the Plaintiff, in an amount in excess of the

 jurisdictional limits of this Court and the United States District Court, and to the extent

 necessary to eradicate the effects of the unlawful employment discrimination to which

  Plaintiff was subjected, for the following elements of damages to be determined at trial:

               a.     Back Pay

               b.     Front Pay

               C.     Compensatory Damages

                d.     Punitive Damages

         4.     Pre judgment and post judgment interest;

         5.     Plaintiffs costs herein expended, including reasonable attorneys fees;

         6.     Trial by jury; and

         7.     Any and all other relief to which he may be entitled.



                                     Respectfully submitted,

                                     SHANE HALL ATTORNEY AT I.AW, PLLC




                                     SHANE HALL                                      u
                                     BRANDIS BRADLEY
                                     685 Hambley Boulevard, Suite iA
                                     P.O. Drawer 472
                                     Pikeville, Kentucky 41502
                                     Telephone: (6o6) 433-0433
                                     Facsimile: (6o6) 433-9002


                                                  :
         Case: 7:14-cv-00178-ART-EBA Doc #: 1-1 Filed: 12/22/14 Page: 12 of 13 - Page ID#: 17
 EEOC Form 161-13 (11/09)                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                        I110TICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Gordon Wagner                                                                  From: Cincinnati Area Office
        48 Antique Lane                                                                       John W. Peck Fed. Bldg
        Betsy Layne, KY 41605                                                                 550 Main St Room 10-019
                                                                                              Cincinnati, OH 45202




       a          On behalf ofperson(s) aggrieved whose identity is
                  CONFIDENT/AL (29 CFR §1601.7(a))

 EEOC Charge No.                                        EEOC Representative                                               Telephone No.

                                                        William D. Coleman,
 473-2014-00689                                         Investigator                                                   (513) 684-7337
                                                                                   (See a/so the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be fiied in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a ciaim under
state law may be difFerent.)

       F~         More than 180 days have passed since the filing of this charge.

       a          Less than 180 days have passed since the fiiing of this charge; but I have determined that it is unlikeiy that the EEOC will
                  be abie to complete its administrative processing within 180 days from the filing of this charge.

       ~          The EEOC is terminating its processing of this charge.

       a          The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was fiied until
90 days after you receive notice that we have compieted action on the charge. In this regard, the paragraph marked below applies to
your. case:
       Q          The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be fiied in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


       F-1        The EEOC is continuing its handiing of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may fiie suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (fiiing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 vears (3 years) before you file suit may not be collectible.

If you fiie suit, based on this charge, please send a copy of your court complaint to this office.


                                                                       On behalf of the Commission


                                                                                                                   010%   T 14 2014
 Enciosures(s)                                                         Wilma L. Jaie;✓+,                                      (Date Mailed)

                                                                          Director

 cc:          Stacy Hinners                                                           Brandis Bradley
              Employee Relations Counsel                                              SHANE HALL ATTORNEY AT LAW
              SHERWIN-WILLIAMS COMPANY                                                685 Hambley Blvd Suite 1A
              101 Prospect Avenue NW                                                  P.O. Drawer 472
              Cleveland, OH 44115                                                     Pikeville, KY 41502
                              Case: 7:14-cv-00178-ART-EBA Doc #: 1-1 Filed: 12/22/14 Page: 13 of 13 - Page ID#: 18

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                                                          RETURN RECEIPT (ELECTRONIC)



                                                           RETURN RECEIPTREQUESTED
                                                               THE SHERWIN WlLLIAMS COMPANY
           -        -                                          CSC-LAWYERS INCOPRORATING
~=                                                             SERVICE COMPANY
                                                               421 WEST MAIN STREET
                                                               FRANKFORT, KY 40601

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